Case 2:15-cv-01116-JMV-JBC Document 485 Filed 11/16/22 Page 1 of 1 PageID: 8458




 Michael S. Stein, Esq. (MS-3248)
 J. John Kim, Esq. (JK-1979)
 PASHMAN STEIN WALDER HAYDEN, P.C.
 Court Plaza South
 21 Main Street, Suite 200
 Hackensack, NJ 07601
 (201) 488-8200
 Attorneys for Defendants Sophia C.
 Galleher and Matthew Kim

                    UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY

  MAXLITE, INC., a New Jersey
  Corporation, f/k/a SK AMERICA,
  INC., d/b/a MAXLITE,
                                    Civil Action No. 2:15-CV-01116-SDW-
                                    SCM
             Plaintiff,

  v.

  ATG ELECTRONICS, INC.,
  JAMES D. STEEDLY, SOPHIA C.
  GALLEHER and MATTHEW
  KIM,

             Defendants.


       EMPLOYEE-DEFENDANTS’ REPLY FINDINGS OF FACT AND
                    CONCLUSIONS OF LAW
